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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

OCWEN LOAN SERVICING, LLC,                    §
Plaintiff,                                    §
                                              §
v.                                            §
                                              §
BEST MORTGAGE                                 §     CIVIL NO. 6:19-CV-00191-ADA-JCM
CORPORATION, and MORTGAGE                     §
ELECTRONIC REGISTRATION                       §
SYSTEMS, INC.,                                §
Defendants.                                   §

                                  ORDER OF DISMISSAL

       Before the Court is the above-entitled cause of action. On April 1, 2019, Plaintiff filed a

Notice of Voluntary Dismissal of Defendant Mortgage Electronic Registration Systems, Inc.

Plaintiff filed such Notice before Defendant Mortgage Electronic Registration Systems, Inc. filed

an answer or motion for summary judgment. Accordingly, it is ORDERED that Plaintiff’s

claims against Defendant Mortgage Electronic Registration Systems, Inc. are DISMISSED

WITHOUT PREJUDICE. Costs are taxed against the party incurring the same. The above-

entitled cause of action will remain open to address the claims against Defendant Best Mortgage

Corporation.

SIGNED this 2nd day of April 2019.




                                     ALAN D ALBRIGHT
                                     UNITED STATES DISTRICT JUDGE
